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                                           13
                                              Attorney for Plaintiffs
                        SUITE 850




                                           14 McLaren Insurance Solutions, LLC, and
                                              Maxim Health, Inc.
                                           15                         UNITED STATES DISTRICT COURT
                                           16                     CENTRAL DISTRICT OF CALIFORNIA
                                           17
                                              MCLAREN INSURANCE
                                           18 SOLUTIONS, LLC, a California limited Case No.
                                              liability company, and MAXIM
                                           19 HEALTH, INC., a California corporation, COMPLAINT FOR:
                                           20                                          (1) FALSE ADVERTISING UNDER
                                                            Plaintiffs,
                                                                                           THE LANHAM ACT SECTION
                                           21         v.                                   43(A); AND
                                           22 ABS HEALTHCARE SERVICES, LLC, (2) UNFAIR COMPETITION
                                              a Florida limited liability company,         (CALIF. BUS. & PROF. CODE §
                                           23 HEALTH OPTION ONE, LLC, a Florida            17200).
                                              limited liability company, MY AGENT
                                           24 SOLUTION, LLC, a Florida limited
                                              liability company, and DOES 1 through    DEMAND FOR JURY TRIAL
                                           25 20, inclusive,
                                           26
                                                           Defendants.
                                           27
                                           28

                                                                                    1
                                                                                COMPLAINT
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                                             1        Plaintiffs McLaren Insurance Solutions LLC (“McLaren”) and Maxim Health,
                                             2 Inc. (“Maxim”) (collectively, “Plaintiffs”), for their Complaint against defendants
                                             3 ABS Healthcare Services, LLC (“ABS”), Health Option One, LLC (“HOO”), and My
                                             4 Agent Solutions, LLC (“MAS”) (collectively, ABS, HOO, and MAS will be referred
                                             5 to as “ICD”), and Does 1 through 20, inclusive, (collectively, “Defendants”), allege
                                             6 as follows:
                                             7                                 INTRODUCTION
                                             8       1.      This dispute involves a malicious scheme by Defendants to
                                             9 surreptitiously prey on the most vulnerable citizens of California and other states—
                                           10 those who do not have access to affordable employer-sponsored health insurance
                                           11 plans because they have lost their jobs, are unemployed or self-employed, or have lost
                                           12 their group or individual health insurance.
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                                           13        2.      Defendants’ scheme, masterminded by Seth Cohen, Rob Hodes, and
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                                           14 Luis Silvestre, involves operating websites under unregistered fictitious names, such
                                           15 as “Affordable Healthcare of California,” in which Defendants falsely associate
                                           16 themselves with well-known providers of health insurance such as Blue Cross and
                                           17 Blue Shield and Kaiser Permanente through the use of counterfeit marks, and falsely
                                           18 represent that the non-existent entity (which is really ICD or other Defendants
                                           19 operating under an unregistered fictitious and deceptive name) will help the unwary
                                           20 consumers find the “best Health Coverage at the lowest price.” Some of Defendants’
                                           21 websites then falsely claim to have information updated as of the date the user
                                           22 accessed Defendants’ website, and then, regardless of the day, time, or region, purport
                                           23 to claim that Defendants have “Located 50+ Health Plans and Discounts Near You”,
                                           24 including “17 Obamacare Plans”, “4 HMO Plans”, and “5 PPO Plans, “11 Bronze
                                           25 Plans”, “13 Silver Plans”, and “8 Gold Plans.”
                                           26        3.      In order to obtain quotes, however, regarding these purported “health
                                           27 plans”, the unwary consumer is required to enter personal information, including a
                                           28 phone number and email. If a consumer provides a telephone number, Defendants

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                                                                                   COMPLAINT
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                                             1 will immediately provide that phone number to one of several call centers under
                                             2 Defendants’ direction and control that Defendants require to exclusively sell the
                                             3 limited benefit indemnity plans that Defendants allow these call centers to sell. .
                                             4       4.      None of these plans sold by Defendants or their agents, however, are
                                             5 comprehensive insurance plans as implied by the names “Obamacare Plans,” “HMO
                                             6 Plans”, “PPO Plans,” “Bronze Plans,” “Silver Plans”, “Gold Plans”, etc. as promised
                                             7 on their website.1 Rather, at best, these call centers under Defendants’ control are
                                             8 only permitted to offer limited benefit indemnity plans to consumers.
                                             9       5.      Moreover, Defendants use coercive and strong-arm tactics to ensure that
                                           10 their call centers are unable to offer comprehensive insurance plans to consumers.
                                           11 Defendants do this because while they are able to earn huge margins on the limited
                                           12 benefit indemnity plans that are not subject to the Affordable Care Act’s 80/20 Rule,
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                                           13 Defendants margins on comprehensive insurance plans are much smaller.
                        SUITE 850




                                           14        6.      At best this is a deceptive “bait-and-switch” tactic, but more likely,
                                           15 Defendants are hoping that consumers will purchase these limited benefit indemnity
                                           16 plans believing that they are either actually purchasing comprehensive health
                                           17 insurance or at least purchasing insurance from one of the well-known health insurer’s
                                           18 whose counterfeit marks appear on Defendants’ websites.            These unsuspecting
                                           19 customers only realize the extent of Defendants’ deception when it is too late—that
                                           20 is, after they actually need health care and are stuck with enormous bills not covered
                                           21 by the limited benefit plans sold by Defendants. The Defendants’ scheme coerced
                                           22 these unsuspecting consumers into a limited benefit plan solely to pad the Defendants’
                                           23 pockets on the backs of unsuspecting victims.
                                           24        7.      In furtherance, of this scheme, while marketing itself as one of the
                                           25 “largest health and life insurance agencies in the country,” ICD has engaged in the
                                           26
                                           27    1
                                               Section 1302 of the Patient Protection and Affordable Care Act (42 U.S. Code §
                                              18022) defines four “metal” categories for Essential Health Benefits packaged based
                                           28 on the level of coverage. See also https://www.healthcare.gov/choose-a-plan/plans-
                                              categories/ (“The 'metal' categories: Bronze, Silver, Gold & Platinum”).
                                                                                        3
                                                                                    COMPLAINT
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                                             1 unlawful practice of conducting the business of insurance without a licensed agent in
                                             2 charge designed by and providing services to the agencies at all times as required by,
                                             3 inter alia, section 626.0428(f), Florida Statutes.
                                             4       8.      Specifically, ICD has deceptively designated Seth Cohen’s father,
                                             5 Arnold Cohen, as the Agent in Charge even though Arnold Cohen admittedly provides
                                             6 no services to the agencies. In fact, when Arnold Cohen was asked under oath what
                                             7 services he provides to ICD, Arnold Cohen testified:
                                             8       “Figurehead, [like the] Queen of England.”
                                             9 When Arnold Cohen was asked if there was “anything you do other than act as a
                                           10 figurehead for Insurance Care Direct”, Arnold Cohen testified:
                                           11         “I sign checks or whatever else they give me to sign. . . . Most of the
                                                      time I don’t read it. I Don’t care.”
                                           12
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                                           13 Arnold Cohen testified that ICD sells insurance, but he had no knowledge of what
                        SUITE 850




                                           14 type of health insurance ICD sells.
                                           15        9.      When Arnold Cohen was asked under oath whether he was the agent in
                                           16 charge for Insurance Care Direct, he testified that he was “not sure.” Arnold Cohen
                                           17 also testified that he did not remember if he had ever given anyone authorization to
                                           18 list him as the agent in charge for ICD.
                                           19        10.     Similarly, Arnold Cohen testified that he did not know if he was licensed
                                           20 to sell insurance in California even though both ABS and HOO list Arnold Cohen as
                                           21 their sole endorsed agent in California.
                                           22        11.     As such, it is evident that Arnold Cohen, despite being listed as ICD’s
                                           23 agent in charge, is not, and has not for many years, been providing any services to
                                           24 ICD. Rather, Arnold Cohen’s son, Seth Cohen, is using his father’s name to escape
                                           25 liability should insurance regulators ever investigate ICD’s deceptive trade practices.
                                           26        12.     In October 2018, the Federal Trade Commission filed a complaint in
                                           27 federal court against Simple Health Plans LLC, Steven J. Dorfman, and five other
                                           28 entities, alleging that they were operating a similar deceptive enterprise to that which

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                                                                                     COMPLAINT
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                                             1 Defendants were also then operating and continue to operate to date.
                                             2       13.    In response to the FTC’s action against Simple Health, Defendants,
                                             3 rather than changing its ways, sought to insulate itself from both federal and state
                                             4 regulators by hiring former politicians to give the false appearance that ICD was a
                                             5 legitimate insurance agency, when in fact, ICD’s entire business is premised on
                                             6 misleading and deceiving unsuspecting consumers.
                                             7       14.    By way of example, shortly after the FTC filed its complaint against
                                             8 Simple Health, ICD hired former United States Senator and Governor of Nebraska E.
                                             9 Benjamin Nelson to act as its Chief Executive Officer. Senator Nelson was supposed
                                           10 to succeed Seth Cohen as the CEO of ICD.
                                           11        15.    In reality, however, Senator Nelson, like ICD’s putative “agent in
                                           12 charge” Arnold Cohen, is only a figurehead as Seth Cohen and co-conspirators Rob
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                                           13 Hodes and Luis Silvestre, continue to control every aspect of ICD’s business,
                        SUITE 850




                                           14 including ICD’s false advertising and deceptive trade practices.
                                           15        16.    Worse yet, Senator Nelson, falsely claimed in a press release that he was
                                           16 “committed to ensuring [ICD] operate[s] at the highest level of integrity and ethics”.
                                           17 Either Senator Nelson is unaware of ICD’s operations because he was hired only to
                                           18 be a figurehead and to deceive state and federal regulators into believing ICD would
                                           19 not engage in these deceptive practices, or Senator Nelson is aware of ICD’s predatory
                                           20 conduct and has been helping ICD avoid state and federal regulators.
                                           21        17.    Similarly, if Senator Nelson were truly “committed” to “integrity and
                                           22 ethics”, Senator Nelson would not allow ICD to engage in the unlawful practice of
                                           23 allowing Arnold Cohen to remain as ICD’s Agent in Charge when Senator Nelson
                                           24 knew that Arnold Cohen was not providing any services to ICD.
                                           25        18.    Similarly, at around the same time, ICD hired John Doak, former
                                           26 Oklahoma Insurance Commissioner, as Executive Vice President of Regulatory
                                           27 Affairs, and shortly thereafter promoted him to Chief Operating Officer.
                                           28 ///

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                                                                                   COMPLAINT
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                                             1       19.    In a press release announcing the promotion of Mr. Doak to COO along
                                             2 with the hiring of Christa Rapoport as General Counsel and Chief Compliance
                                             3 Officer, Seth Cohen, then purportedly a “Co-Chair of ICD”, claimed that ICD
                                             4 “continue[s] to invest in talent, technology, and our risk and compliance management
                                             5 infrastructure to protect consumers and ensure compliance with all regulatory
                                             6 requirements. The hiring of Christa as well as Ben, and promoting John, demonstrates
                                             7 our commitment to operating our business at the highest possible legal, ethical, and
                                             8 operational standards to help us remain best-in-class in our industry.” This statement
                                             9 was made in furtherance of Defendants’ scheme to deceive the public with their bait-
                                           10 and-switch tactics as ICD’s product offering is anything but “best-in-class” in the
                                           11 health insurance industry.
                                           12        20.    If these board members and executives did not know about the blatant
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                                           13 deception that is taking place on Defendants’ health-exchange.com website, before
                        SUITE 850




                                           14 they certainly have notice of what his happening under their watch as of the filing of
                                           15 this lawsuit. As such, if Defendants do not immediately remove all of these false and
                                           16 deceptive websites, it will be evident that the John Doak, Christa Rapoport, and
                                           17 Senator Nelson are active participants in Defendants’ scheme.
                                           18        21.    Yet, despite these representations by Mr. Cohen that ICD was committed
                                           19 to protective consumers and operating “its business at the highest possible legal [and]
                                           20 ethical . . . standards”, ICD only doubled-down on its efforts to prey on defenseless
                                           21 consumers using unregistered fictitious names and unlawful websites.
                                           22        22.    Similarly, if Mr. Doak and Ms. Rapoport were truly hired to “ensure
                                           23 compliance with all regulatory requirements”, Mr. Doak and Ms. Rapoport would not
                                           24 have permitted ICD to engage in the unlawful practice of allowing Arnold Cohen to
                                           25 remain as ICD’s Agent in Charge when Mr. Doak and Ms. Rapoport knew that
                                           26 Arnold Cohen was not providing any services to ICD.
                                           27        23.    Plaintiffs compete with ICD and the other Defendants for customers. As
                                           28 a result of Defendants’ false advertising and unfair competition, Plaintiffs have lost

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                                                                                    COMPLAINT
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                                             1 customers who were deceived by Defendants’ deceptive trade practices.
                                             2       24.    Accordingly, Plaintiffs seek redress for Defendants’ deliberate and
                                             3 unlawful false and misleading representations regarding the insurance plans that
                                             4 Defendants offer, including but not limited to the Defendants’ profits earned from this
                                             5 unlawful and deceptive scheme. Plaintiffs also seek redress for the unfair, unlawful
                                             6 and deceptive business practices of Defendants in California and nationwide.
                                             7                         The Parties, Jurisdiction, and Venue
                                             8       25.    Plaintiff McLaren is a California limited liability company with its
                                             9 principal place of business in Los Angeles County, California. All members of
                                           10 McLaren are residents of California.
                                           11        26.    Plaintiff Maxim is a California corporation with its principal place of
                                           12 business in Los Angeles, California.
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                                           13        27.    Defendant ABS is a Florida limited liability company that is licensed by
                        SUITE 850




                                           14 the State of California to solicit insurance business in this state and which in fact does
                                           15 solicit insurance business in this state. Additionally, ABS has committed tortious acts
                                           16 causing harm to consumers in California and causing harm to Plaintiffs in California.
                                           17 On information and belief, no members of ABS are residents of California.
                                           18        28.    Defendant HOO is a Florida limited liability company that is licensed by
                                           19 the State of California to solicit insurance business in this state and which in fact does
                                           20 solicit insurance business in this state. Additionally, HOO has committed tortious
                                           21 acts causing harm to consumers in California and causing harm to Plaintiffs in
                                           22 California.    On information and belief, no members of HOO are residents of
                                           23 California.
                                           24        29.    Defendant MAS is a Florida limited liability company that is registered
                                           25 to do business in California and in fact has employees in California. Additionally,
                                           26 MAS has committed tortious acts causing harm to consumers in California and
                                           27 causing harm to Plaintiffs in California. On information and belief, no members of
                                           28 MAS are residents of California.

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                                                                                     COMPLAINT
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                                             1       30.    ICD is subject to personal jurisdiction in California because, inter alia,
                                             2 ICD operates the websites that specifically target California consumers. By way of
                                             3 example, the website “https://california.health-exchange.com” contains a banner
                                             4 portending that the website is operated by an entity doing business under the name:
                                             5 “Affordable Healthcare of California”. Similarly, at the bottom of the webpage, there
                                             6 is a copyright notice claiming that the owner of the copyright in the webpage is
                                             7 “Affordable Healthcare of California.” If ICD were not operating under the trade
                                             8 name “Affordable HealthCare of California”, this notice on ICD’s webpage would be
                                             9 a criminal offense pursuant to 17 U.S.C. § 506(c).
                                           10        31.    Additionally, on this website, and on at least five other websites owned
                                           11 and controlled by ICD, ICD has placed an option that states “Exercise Your Rights”.
                                           12 If the consumer selects that option, he or she is redirected to another website with a
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                                           13 form to fill out. At the bottom of the form is an “acknowledgement” wherein the
                        SUITE 850




                                           14 consumer is required to acknowledge the following: “By submitting this form, I
                                           15 confirm I am a resident of California and that the information I have provided is
                                           16 accurate.” (emphasis added). The following copyright notice appears at the bottom
                                           17 of this form: “© 2019 ABS Health, LLC. All Rights Reserved.”
                                           18        32.    Recently, ICD has added a “Licensing and Legal Information” link to
                                           19 some of these websites indicating that the websites are “privately owned and operated
                                           20 by My Agent Solution, LLC”.
                                           21        33.    This action arises under 15 U.S.C. § 1125(a) and Cal. Bus. & Prof. Code
                                           22 § 17200. This Court has subject matter jurisdiction over this action pursuant to 28
                                           23 U.S.C. § 1331 (federal question), and 28 U.S.C. § 1367 (supplemental jurisdiction).
                                           24 This Court also has subject matter jurisdiction over the state law claim pursuant to 28
                                           25 U.S.C § 1332 (diversity) because Plaintiffs and ICD are citizens of different states
                                           26 and the matter in controversy exceeds $75,000.
                                           27
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                                                                                   COMPLAINT
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                                             1       34.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
                                             2 a substantial part of the events or omissions giving rise to the claims occurred in this
                                             3 District.
                                             4                         Defendants’ Scheme to Deceive Consumers
                                             5       35.     Defendants, through a network of call centers and insurance agents that
                                             6 they direct and control, sell limited benefit plans, also known as limited benefit
                                             7 indemnity plans and hospital indemnity plans; and medical discount and wellness
                                             8 program memberships to consumers in California and throughout the United States.
                                             9       36.     Defendants obtain information about consumers that Defendants prey
                                           10 on to sell their limited benefit plans and discount memberships through, inter alia, a
                                           11 network of lead generation websites operated by Defendants that contain false and
                                           12 misleading information in order to lure unsuspecting customers to do business with
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                                           13 Defendants.
                        SUITE 850




                                           14        37.     These lead generation websites typically claim that the website will
                                           15 provide quotes for comprehensive health insurance, including insurance available
                                           16 through the marketplaces established pursuant to the Affordable Care Act (“ACA”).
                                           17 In many cases, the sites refer to the ACA and Medicare and use terms associated
                                           18 with the ACA, such as “Obamacare,” the “Obamacare Marketplace,” and metal tier
                                           19 plans such as “Bronze Plans,” “Silver Plans”, and “Gold Plans.” The sites also
                                           20 contain counterfeit marks in the form of branded logos of well-known insurance
                                           21 carriers, such as Blue Cross Blue Shield, Humana, Coventry, Molina, TUFTS,
                                           22 United Healthcare, Aetna, Cigna, AmeriHealth, and Kaiser Permanente. This was a
                                           23 slick, well-oiled marketing machine that deliberately groomed and took advantage
                                           24 of people who were vulnerable.
                                           25        38.     An example of just one of the many false and deceptive lead generation
                                           26 websites operated by Defendants is the website “health-exchange.com”. To begin
                                           27 with, the name of the URL itself is deceptive as consumers looking for health
                                           28 insurance associate the term “Health Exchange” with the “Health Insurance

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                                                                                     COMPLAINT
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                                           1 Marketplace®” which is generally run by, or affiliated with the federal or state
                                           2 governments.
                                           3       39.    For example, in California, the official Health Exchange Marketplace is
                                           4 CoveredCa.com and is sponsored by the California Health Benefit Exchange d/b/a
                                           5 Covered California and the California Department of Health Care Services.
                                           6       40.     If a resident of California accesses “health-exchange.com”, they are
                                           7 presented with a webpage substantially similar to the following:
                                           8                            Affordable Healthcare
                                                                             of California
                                                                                                                                                      Lowest Health Rates Updated: 6/7/2021




                                           9                          Compare Lowest 2021 Health Plans in CALIFORNIA

                                          10                                             Get Started Now by Entering your ZIP CODE
                                                                                                             Fast, Free, No-Obligation Quotes
                                          11
                                                                                       Enter ZIP code                                   COMPARE PLANS '`>
                                          12
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                                          13                                              We will find you the best Health Coverage at the lowest price.
                        SUITE 850




                                                                         We've helped millions of Americans just like you save big on their health insurance plan.


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                                          15                                           We've Located 50+ Health Plans and Discounts Near You in CALIFORNIA



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                                                                                                        4 HMO Plans
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                                                                                                                               0        5 PPO Plans                          11 Bronze Plans



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                                                                 13 Sillier Plans             410       8 Gold Plans           42) 5 Short Term Plans               41110    7 Medicare Plans

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                                          20                            Figure A (http://california.health-exchange.com)

                                          21       41.    Defendants falsely represent on this webpage that the webpage is

                                          22 operated by a non-existent entity called “Affordable Healthcare of California”. The
                                          23 webpage indicates that the consumer can use this service to “Compare Lowest 2021
                                          24 Health Plans in CALIFORNIA”, and that Defendants “will find” the unsuspecting
                                          25 consumer “the best Health Coverage at the lowest price,” and that Defendants have
                                          26 “helped millions of American just like you save big on their health insurance plan.”
                                          27
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                                                                                                                             COMPLAINT
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                                           1       42.      Immediately below this promise, Defendants include ten (10) counterfeit
                                           2 marks for well-known health insurance provides:
                                           3
                                           4                           We will find you the best Health Coverage at the lowest price.
                                                         We've helped millions of Americans just like you save big on their health insurance plan.
                                           5
                                                   Humana    :`   `      ran.   ®TUFTS               aetna          C         ,
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                                           6                                                                    lb. Lurid               %me Idle




                                           7                      We've Located 50+ Health Plans and Discounts Near You in CALIFORNIA

                                           8
                                           9                       Figure B (http://california.health-exchange.com)
                                          10 The sole purpose for including these counterfeit marks is to deceive consumers into
                                          11 believing that Defendants are affiliated with these well-known insurance carriers and
                                          12 that Defendants will help the consumer receive discounted insurance from these
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                                          13 carriers.
                        SUITE 850




                                          14       43.      Pursuant to 18 U.S.C. § 230, knowingly trafficking in services using a
                                          15 counterfeit mark in connection with those services constitutes a criminal offense.
                                          16 Pursuant to 18 U.S.C. § 1961, such indictable counterfeiting activity constitutes
                                          17 “racketeering activity.” Moreover, pursuant to 18 U.S.C. § 1962 it is unlawful for
                                          18 any person, such as Defendants here, to engage in a pattern of such racketeering
                                          19 activity.
                                          20
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                                                                                               COMPLAINT
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                                          1        44.                   Just below the counterfeit marks, Defendants claim to have information
                                           2 updated as of the date the unwary consumer accessed Defendants’ website, and then,
                                           3 regardless of the day, time, or region, purports to claim that Defendants have “Located
                                           4 50+ Health Plans and Discounts Near You”, including “17 Obamacare Plans”, “4
                                           5 HMO Plans”, “5 PPO Plans, “11 Bronze Plans,” “13 Silver Plans”, “8 Gold Plans”,
                                           6 “7 Medicare Plans,” and “5 Short Term Plans”:
                                           7
                                                                                           We wilt find you the best Health Coverage at the lowest price.
                                           8                               We've helped millions of Americans just like you save big on their health insurance plan.

                                           9                Humana                    n'   ifienv,      lifirruf.,r.,               aetna                                 Cigna   Inn.H▪ 111.-m▪ Plat
                                                                                                                                                                                                        wan PUIPlagell.


                                          10
                                          11                                      g   We've Located 50+ Health Plans and Discounts Near You in CALIFORNIA



                                          12        011) /7 Obarnacare Plans                   0        4 HMO Plans                     0     5 FPO Plans                                      11 Bronze Plans
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                 SANTA MONICA, CA 90401




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                                          14
                                          15        0         13 Silver Plans                           8 Gold Plans                          5 short Term Plans                               7 Medicare Plans
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                                          19 Contrary to the Defendants’ misrepresentation to consumers, however, Defendants do
                                          20 not search any database or any other source to “locate” these purported “50+ Health
                                          21 Plans and Discounts.” Rather these are just arbitrary numbers that are hard-coded
                                          22 into the HTML file that Defendants present to the user, and these numbers do not
                                          23 change regardless of the date, time, or location of the consumer when the consumer
                                          24 accesses the site. However, Defendants’ deceptive practices do not end with false
                                          25 statements regarding the number of available plans. The deception continues when a
                                          26 user clicks on any of the “Get Pricing Now” links. Instead of being redirected to a
                                          27 site that will provide the user with pricing for any of the categories of health plans
                                          28 listed on the website, the user is not redirected to a site with information regarding

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                                                                                                                                COMPLAINT
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                                           1 that type of plan. Instead, all of the “Get Pricing Now” links unknowingly redirected
                                           2 the user to one page that requests the user’s information, which Defendants then pass
                                           3 along to call centers regardless of whether the call center sells the type of health plan
                                           4 the website falsely claimed was available.
                                           5       45.     By way of example, the above images are from a webpage accessed as
                                           6 would be seen by a California consumer on June 7, 2021. The image below is the
                                           7 information that was shown to an unwary consumer from Virginia on August 5,
                                           8 2020. Just as with the California consumer in June 2021, Defendants represented to
                                           9 this Virginia consumer nearly a year earlier that it had also located the exact same
                                          10 number of health plans and discounts near that consumer in Virginia, and with the
                                          11 exact same breakdown of “17 Obamacare Plans”, “4 HMO Plans”, “5 PPO Plans,
                                          12 “11 Bronze Plans,” “13 Silver Plans”, “8 Gold Plans”, “7 Medicare Plans,” and “5
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COZEN O’CONNOR




                                          13 Short Term Plans.” In fact, the only difference between the information presented
                        SUITE 850




                                          14 to the Virginia consumer in August 2020 and the California consumer in June 2021
                                          15 is that Defendants used a different fake name when presenting the false and
                                          16 misleading information to the Virginia consumer (compare “Affordable Healthcare
                                          17 of Virginia” with “Affordable Healthcare of California”), and the date in which the
                                          18 date next to “Lowest Health Rates Updated” was “8/5/2020” when the site was
                                          19 accessed in August 2020 versus “6/7/2021” when accessed nearly a year later from
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                                           1 California.
                                           2       46.              The consumer, believing that Defendants will help him or her find the
                                           3 best health insurance available from well-known entities such as Blue Cross and
                                           4 Blue Shield at the lowest price available, enters his or her zip code and asks to
                                           5 “Compare Plans”. Defendants’ deceptive practices then continue as on the next
                                           6                               Affordable Healthcare
                                                                                                                                                                             Lowest Health Rates Updated: 6/7/2021
                                                                                of California
                                           7
                                                                              Get Your Instant Health Plan Quotes in SANTA MONICA, CA
                                           8
                                                            Humana                                                                            aetna                     csr,z             y Cigna   .Untrilleakk
                                                                                                                                                                                                                      A rmax rutwoort
                                           9
                                                        Step 1 / 2 l Please Provide Some Information About Yourself
                                          10                                                                                                                                               Obamacare Discounts

                                                         Date of Birth:                                                                                                               •• Official Exchange Rates
                                          11        >      !viOnth,                      I    Day                        - I          Year                                                 Individual & Family Plans

                                          12             Height:                             Weight: lbs
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                                          13
                                                         People in household?
                        SUITE 850




                                          14               - Select -


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                                          16                                                 FINAL STEP >>

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                                          20                                                                                                                            Get Pricing Mw•                                     Orirm!...




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                                                            Cei 13 Silver Plans                                  8 Gold Plans                     0            5 Short Term Plans                                  7 Medicare Plans
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                                          24 webpage, Defendants continue to use the counterfeit marks of the well-known health
                                          25 insurance companies, and represents to the consumer that by providing personal
                                          26 information, Defendants will provide “instant health plan quotes” in the consumer’s
                                          27 city. Worse yet, Defendants represent that they will help the consumer locate
                                          28 “Obamacare discounts,” “Official Exchange Rates,” and “Individual & Family

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                                                                                                                                      COMPLAINT
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                                           1 Plans.”
                                           2       47.    If the consumer enters the requested personal information, however,
                                           3 Defendants do not provide “instant health plan quotes” as promised. Rather,
                                           4 Defendants present the consumer with yet another web page that again includes the
                                           5 counterfeit marks for the well-known health insurers. This time, Defendants claim
                                           6 that they have found “found plans and discounts” in the unwary consumer’s city,
                                           7 and that they are “processing quotes” and matching the consumer with, inter alia,
                                           8 “Obamacare Subsidies,” “Low Deductibles,” “Low Copays”, “HMO & PPO Plans”,
                                           9 and “Bronze, Silver, Gold Plans.” In order to obtain these “quotes” however, the
                                          10 user is required to enter contact information, including a phone number and email
                                          11 address, and then select “Compare Plans”:
                                          12
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                                          13
                        SUITE 850




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                                                                                 COMPLAINT
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                                           1                         Affordable Healthcare
                                                                                                                                                             Lowest Health Rates Updated: 6/7/2,
                                                                          of California
                                           2
                                                               Let's connect you with instant health insurance quotes for CALIFORNIA
                                           3
                                                         Humana                              &ram OTUTS               'wenn...ram    aetna Blue
                                                                                                                                           Blue TieIsd                   Cigna-        Am=1.1,     raweR   Penwitrirt.

                                           4
                                           5
                                                    Step 2 / 2 l


                                                      Address:
                                                                   Almost done! Please Provide Your Contact Information.
                                                                                                                   City:
                                                                                                                                                                 9        We've found plans and discounts in:
                                                                                                                                                                      , Santa Monica, CA


                                                                                                                                                                     Processing Quotes For:
                                                                                                                     Santa Monica
                                           6                                                                                                                                 Zip: 90401

                                                                                          Zip:                                                                       N/ Age:.
                                                      State:
                                                                                                                                                                     V       Height:
                                           7            CA                                 90401
                                                                                                                                                                     V       Weight:
                                                                                                                                                                     V       People in Household:I
                                                      First Name:                                    Last Name:
                                           8
                                           9          Phone: ( We respect your privacy)              Email: gi
                                                                                                                                                                         0
                                                                                                                                                                                  Matching You With:
                                                                                                                                                                               Obamacare Subsidies

                                          10
                                          11
                                                                                COMPARE PLANS >>
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                                          13        48.              If the user selects “Compare Plans,” Defendants do not provide the
                        SUITE 850




                                          14 consumer with any quotes nor any other information to “compare plans.” Rather
                                          15 Defendants simply inform the consumer that their “customized Health Insurance
                                          16 quote is ready,” that Defendants have “located low rates and discounts for this
                                          17 customer profile,” that a “dedicated, friendly, licensed insurance agent will contact
                                          18 you shortly to review your rates from top carriers and find the best policy for your
                                          19 needs and budget,” and that Defendants “look forward to helping you save BIG on
                                          20 your Health Insurance policy”
                                          21                               Affordable Healthcare         of California


                                          22                                                     Congratulations - your information was submitted successfully!

                                          23
                                                                                                           hour customized Health Insurance quote is ready. We have located low rates and
                                                                                                           discounts for this customer profile:
                                          24
                                                                                                                           Name
                                                                                                                           Age:
                                          25                                                                               City Santa Monica
                                                                                                                           State: CA
                                                                                                                           Product: Individual

                                          26                                                               What's Next?
                                                                                                           Your dedicated, friendly, licensed insurance agent will contact you shortly to
                                          27                                                               review your rates from top carriers and find the best policy for your needs and
                                                                                                           budget.
                                                                                                           Thanks so much for your inquiry! We look forward to helping you save BIG on

                                          28                                                               your Health Insurance policy!




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                                                                                                                              COMPLAINT
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                                           1        49.    In most cases, shortly after entering this information, the consumer
                                           2 receives a call inquiring if the consumer is still interested in health insurance. This
                                           3 call, however, is not from a licensed insurance agent, but rather a non-licensed agent
                                           4 who first inquires if the consumer is interested in purchasing insurance, and a few
                                           5 other questions such as the person’s age, and questions about whether the consumer
                                           6 has any pre-existing medical conditions, or is pregnant.
                                           7        50.    At some point, the consumer is transferred to a person purporting to be
                                           8 a licensed insurance agent. This agent, however, does not provide the consumer
                                           9 with any quotes for “Obamacare plans”, “HMO and PPO Plans”, or any other type
                                          10 of comprehensive health insurance that would include deductibles and copays. Nor
                                          11 does the agent provide the consumer with any quotes from any of the ten health
                                          12 insurance companies that consumers associate with the counterfeit marks on
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                                          13 Defendants’ websites.
                        SUITE 850




                                          14        51.    Rather the agent, who in almost all cases works for a call center which
                                          15 is contractually obligated to sell insurance exclusively on behalf of Defendants and
                                          16 which Defendants only allow to sell limited benefit plans, also known as limited
                                          17 benefit indemnity plans and hospital indemnity plans, and medical discount and
                                          18 wellness program memberships. At best, the consumers who ultimately purchase
                                          19 these plans have been deceived by Defendants’ false association with well-known
                                          20 health care insurers and Defendants’ deceptive bait-and-switch tactics. In many
                                          21 cases, however, Defendants tactics result in unwary consumers believing they are
                                          22 actually purchasing comprehensive health insurance from “top carriers.” It is only
                                          23 when these defenseless consumers need the insurance most, such as after a serious
                                          24 illness or accident, that these consumers become aware of Defendants scheme.
                                          25        52.    In addition to the health-exchange.com website, Defendants operate at
                                          26 least ten other similar websites:
                                          27        http://www.comparehealthplan.online/
                                          28        https://directhealthrates.com/

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                                                                                     COMPLAINT
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                                           1         https://obamacare-plans.org/
                                           2         https://www.insurance-save.com
                                           3         http://bluecross.insurance-save.com [Defendants do not offer this product]
                                           4         https://aetna.insurance-save.com [Defendants do not offer this product]
                                           5         https://cigna.insurance-save.com [Defendants do not offer this product]
                                           6         https://humana.insurance-save.com [Defendants do not offer this product]
                                           7         https://bluecross.insurancehealthcenter.com/
                                           8         https://healthcare-innovators.com
                                           9         https://www.health-compare.com/
                                          10        53.     On information and belief, Defendants operate numerous other
                                          11 similarly deceptive websites and/or contract with third-parties to operate deceptive
                                          12 websites.
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                                          13        Defendants Improperly and Deceptively Designate Arnold Cohen as the
                                                    Agent in Charge of ICD to Allow Non-Licensed Individuals to Unlawfully
                        SUITE 850




                                          14        Conduct the Business of Insurance
                                          15
                                                    54.     Section 626.0428(f), Florida Statutes, requires that “[a]n insurance
                                          16
                                               agency location may not conduct the business of insurance unless an agent in charge
                                          17
                                               is designated by, and providing services to, the agency at all times.”
                                          18
                                                    55.     For many years, ICD has improperly and deceptively designated
                                          19
                                               Arnold Cohen as its agent in charge, even though Arnold Cohen admittedly provides
                                          20
                                               no services to the agencies. In fact, when Arnold Cohen was asked under oath what
                                          21
                                               services he provides to ICD, Arnold Cohen testified:
                                          22
                                                    “Figurehead, [like the] Queen of England.”
                                          23
                                               When Arnold Cohen was asked if there was “anything you do other than act as a
                                          24
                                               figurehead for Insurance Care Direct”, Arnold Cohen testified:
                                          25
                                                     “I sign checks or whatever else they give me to sign. . . . Most of the
                                          26         time I don’t read it. I Don’t care.”
                                          27
                                          28

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                                           1 Arnold Cohen even testified that while ICD sells insurance, he had no knowledge of
                                           2 what type of health insurance ICD sells.
                                           3        56.    When Arnold Cohen was asked under oath whether he was the Agent in
                                           4 Charge for Insurance Care Direct, he testified that he was “not sure.” Arnold Cohen
                                           5 also testified that he did not remember if he had ever given anyone authorization to
                                           6 list him as the agent in charge for ICD.
                                           7        57.    As such, it is evident that Arnold Cohen, despite being listed as ICD’s
                                           8 Agent in Charge, is not, and has not for many years, been providing any services to
                                           9 ICD. Rather, Arnold Cohen’s son, Seth Cohen, is using his father’s name to escape
                                          10 liability should insurance regulators ever investigate ICD’s deceptive practices.
                                          11   Defendants Hire Former Governors and Insurance Commissioners to Escape
                                                         Scrutiny from the FTC and State Regulatory Agencies
                                          12
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                                          13        58.    Defendants’ scheme is nearly identical to that run by Simple Health and
                        SUITE 850




                                          14 Dorfman up until the FTC took action to shutdown Dorfman’s and Simple Health’s
                                          15 operations in 2018.
                                          16        59.    By way of example, the FTC noted that one of the false and deceptive
                                          17 websites used by Dorfman and Simple Health was a website accessible via the url
                                          18 https://obamacare-plans.com. According to the FTC, the “Obamacare-plans.com”
                                          19 website was false and deceptive because the website purported to be associated with
                                          20 health insurers such as Blue Cross Blue Shield Association and used counterfeit
                                          21 marks for those health insurers on the website. The website was also false and
                                          22 deceptive because the website used terms associated with the ACA such as
                                          23 “Obamacare.” Just as with Defendants’ websites, users who entered personal
                                          24 information on the Obamacare-plans.com website were contacted by call centers
                                          25 that only sold limited benefit plans.
                                          26        60.    Defendants’ website, https://obamacare-plans.org, is nearly identical to
                                          27 the Obamacare-plans.com website identified by the FTC. Moreover, the
                                          28 Obamacare-plans.org website is used by Defendants to lure defenseless customers

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                                           1 into purchasing limited benefit plans from lesser-known carriers when the
                                           2 consumers were looking for comprehensive health insurance from well-known
                                           3 carriers. Despite the similarities between Defendants’ websites and those targeted
                                           4 by the FTC, Defendants have been able to continue to run their false and deceptive
                                           5 websites without interference from the FTC or any of the state regulatory agencies.
                                           6        61.      How were Defendants able to do this? The answer is simple—money
                                           7 and politics.
                                           8        62.      Defendants have received hundreds of millions of dollars over the years
                                           9 by deceiving defenseless consumers.
                                          10        63.      Defendants have used these exorbitant profits to effectively bribe
                                          11 former politicians to act as a front for Defendants and conceal the true nature of
                                          12 Defendants’ marketing scheme.
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                                          13        64.      Specifically, Defendants have hired two former governors, one of
                        SUITE 850




                                          14 whom also served as a U.S. Senator, and a former insurance commissioner.
                                          15        65.      Shortly after the FTC filed its complaint against Simple Health, ICD
                                          16 hired former United States Senator and former Governor of Nebraska E. Benjamin
                                          17 Nelson to act as its Chief Executive Officer.
                                          18        66.      Similarly, at around the same time, ICD hired John Doak, former
                                          19 Oklahoma Insurance Commissioner, as Executive Vice President of Regulatory
                                          20 Affairs, and shortly thereafter promoted him to Chief Operating Officer.
                                          21        67.      A short time later, ICD announced that Frank Keating, a former two-term
                                          22 govern of Oklahoma had joined ICD’s Board of Advisors.
                                          23        68.      All three of these former politicians were either aware of, or should have
                                          24 been aware of ICD’s deceptive conduct. It is inconceivable that these individuals did
                                          25 not know that ICD had improperly and dishonestly designated Arnold Cohen as their
                                          26 agent in charge even though these former politicians had to know that Arnold Cohen
                                          27 was not performing any services, let alone those required an agent in charge, on behalf
                                          28 of ICD.

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                                           1        69.     Nevertheless, these former politicians willingly accepted hundreds of
                                           2 thousands of dollars per year in exchange for helping ICD conceal the true extent of
                                           3 its deceptive business practices. Either these three individuals are all well aware of
                                           4 ICD’s scheme and have condoned this unlawful and deceptive conduct, or they have
                                           5 been willfully blind to this conduct in return for large paychecks.
                                           6        70.     Regardless, it seems that the FTC and state regulatory agencies are afraid
                                           7 to investigate ICD given its political connections. As a result, consumers in California
                                           8 and across the United States have been harmed by Defendants’ unscrupulous business
                                           9 practices, and new consumers will continue to be harmed in the future if this Court
                                          10 does not enjoin Defendants from engaging in false advertising and unlawful, unfair,
                                          11 and deceptive business practices.
                                          12        71.     Plaintiffs, as competitors to Defendants, have also lost customers and
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                                          13 potential customers as a result of Defendants’ false and misleading advertising and
                        SUITE 850




                                          14 deceptive bait-and-switch tactics.
                                          15                              FIRST CAUSE OF ACTION
                                          16        (False Advertising Under the Lanham Act § 43(a), 15 U.S.C. 1125(a))
                                          17        72.     Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through
                                          18 71, as if fully set forth herein.
                                          19        73.     Defendants have distributed in this district, advertisements that contain
                                          20 false or misleading statements of fact regarding Defendants’ services. In connection
                                          21 with their services, Defendants have also used counterfeit marks of well-known health
                                          22 insurance providers which are likely to cause confusion, or to cause mistake, or to
                                          23 deceive as to the affiliation, connection, or association of these well-known insurers
                                          24 with Defendants.
                                          25        74.     Defendants’ false and misleading advertising statements and false
                                          26 association injure both consumers and Plaintiffs.
                                          27        75.     Defendants have caused, and will continue to cause, immediate and
                                          28 irreparable injury to Plaintiffs, including injury to its business, reputation, and

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                                           1 goodwill, for which there is no adequate remedy at law. As such, Plaintiffs are entitled
                                           2 to an injunction restraining Defendants, their agents, employees, representatives, and
                                           3 all persons acting in concert with them from engaging in further acts of false
                                           4 advertising, and ordering removal of all Defendants’ false advertisements.
                                           5        76.     Plaintiffs are also entitled to recover from Defendants the damages
                                           6 sustained by Plaintiffs as a result of Defendants’ false advertising.
                                           7        77.     Plaintiffs are further entitled to recover from Defendants the gains,
                                           8 profits, and advantages that they have obtained as a result of their false advertising,
                                           9 as well as the costs of this action.
                                          10        78.     Moreover, considering the egregious nature of Defendants’ conduct,
                                          11 Plaintiffs maintains that this is an exceptional case in which the Court should award
                                          12 Plaintiffs their reasonable attorney’s fees.
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                                          13              SECOND CAUSE OF ACTION – UNFAIR COMPETITION
                        SUITE 850




                                          14                          (Bus. & Prof. Code §§ 17200 et seq.)
                                          15        79.     Plaintiffs hereby restate the allegations set forth in Paragraphs 1 through
                                          16 71 as if fully set forth herein.
                                          17        80.     This cause of action for unfair competition is brought to find and declare
                                          18 that Defendants’ unfair, deceptive , untrue, and misleading advertising, including but
                                          19 not limited to Defendants use of counterfeit marks and bait-and-switch tactics
                                          20 constitute unfair competition in violation of, inter alia, Business and Professions
                                          21 Code Section 17200, California’s Unfair Competition Law.
                                          22        81.     Plaintiffs have lost money or property as a result of the unfair
                                          23 competition. Plaintiffs have had to expend time, energy and money, including but not
                                          24 limited to out-of-pocket payment of costs and expenses, towards investigating and
                                          25 defending their rights in response to Defendants’ unfair competition. Plaintiffs have
                                          26 also lost customers and prospective customers as a result of Defendants’ unfair
                                          27 competition.
                                          28

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                                           1       82.     Plaintiffs have no adequate remedy at law. Accordingly, Defendants’
                                           2 pattern of business activity in which it deceives unwary consumers by falsely
                                           3 advertising that Defendants are associated with well-known health insurance
                                           4 providers, that Defendants will help consumers find comprehensive medical
                                           5 insurance at a discounted price, and then either misrepresenting the true nature of the
                                           6 limited benefit plans that Defendants actually offer, or through bait-and-switch tactics
                                           7 selling limited benefit plans to consumers that were seeking comprehensive health
                                           8 insurance, should be preliminarily and permanently enjoined.
                                           9                                PRAYER FOR RELIEF
                                          10        WHEREFORE, Plaintiffs request a judicial judgment against Defendants as
                                          11 follows:
                                          12        A.     A preliminary and permanent injunction against Defendants, including
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                                          13               their officers, agents, servants, employees and attorneys, and those in
                        SUITE 850




                                          14               active participation with them, restraining and enjoining them from
                                          15               engaging in false or misleading advertising with respect to insurance
                                          16               products and/or violating Lanham Act§ 43(a), which relief includes but
                                          17               is not limited to removal of all false or misleading advertisements and
                                          18               corrective advertising to remedy the effects of Defendants’ false
                                          19               advertising.
                                          20        B.     That Defendants be adjudged to have violated 15 U .S.C. § 1125(a) by
                                          21               unfairly competing against Plaintiffs by using false, deceptive or
                                          22               misleading statements of fact that misrepresent their association with
                                          23               third-party insurance companies and that misrepresent the nature,
                                          24               quality, and characteristics of the plans offered by Defendants.
                                          25        C.     That Defendants be adjudged to have unlawfully and unfairly competed
                                          26               against Plaintiffs under the laws of the State of California, Cal. Bus. &
                                          27               Prof. Code § 17200.
                                          28        D.     A judgment awarding Plaintiffs damages in the amount that it is found

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                                           1               they have sustained as a result of Defendants’ false advertising.
                                           2        E.     A judgment awarding to Plaintiffs the amount of profits obtained by
                                           3               Defendants as a consequence of Defendants’ false advertising.
                                           4        F.     That such damages and profits be trebled and awarded to Plaintiffs as a
                                           5               result of Defendants’ willful, intentional and deliberate violation of 15
                                           6               U.S.C. § 1125(a).
                                           7        G.     A judgment awarding Plaintiffs their attorney’s fees as permitted by law.
                                           8        H.     A judgment awarding Plaintiffs their costs and disbursements as
                                           9               permitted by law.
                                          10        I.     A judgment awarding Plaintiffs such other and further relief as this Court
                                          11               deems just and proper.
                                          12
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                                          13                             DEMAND FOR JURY TRIAL
                        SUITE 850




                                          14        Plaintiffs hereby request a jury trial on all issues to the extent permitted by
                                          15 law.
                                          16
                                          17
                                               Dated:    July 27, 2021                COZEN O'CONNOR
                                          18
                                          19
                                                                                      By: ___/s/Frank Gooch III
                                          20                                              Frank Gooch III
                                          21                                              Attorneys for Plaintiffs
                                                                                          McLaren Insurance Solutions LLC and
                                          22                                              Maxim Health, Inc.
                                          23
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                                                                                    COMPLAINT
